Case 1:18-cr-20669-RNS Document 22 Entered on FLSD Docket 10/10/2018 Page 1 of 3




                             U NITED STA TES D ISTR ICT C O URT
                             SO UTH ERN D ISTRICT O F FLO RIDA
                                cwslxo. !$-gJtaJ! (+..çD ;.A
    UNITED STA TES OF A M ER ICA

   VS.

    EV ELIO SUAR EZ,

                 D efendant.
                                      /

                                       FA CTU AI,PR O FFER

          Had thiscase proceeded to trial,the U nited Stateswould have proven the following facts

   beyond a reasonable doubt:

          From inoraround2013,continuingthroughinoraround2015(thetirelevantperiod''),the
   defendant controlled a num ber of check-cashing stores, including M inim alist Solutions

    (ttM inimalisf'),Don Koky EnterprisesCorp.($$Don Koky''),and DogerGroup lnc.(tçDoger'')
    (together,thettsuarezStores'')located in Hialeah,Florida. AlloftheSuarezstoresmaintained
    bank accountsatPeople's CreditU nion thathad operationsin Broward County.

          During therelevantperiod,the defendantcaused the èashing ofchecksatthe Suarez Stores

   thatw erethe proceedsoffraudulentactivity,including identity-thefttax refund fraud,health care

    fraud,and m ortgage fraud. The defendantknew,orw asw illfully blind in notknow ing,thatthe

    checks had been obtained from fraudulentactivity.

          Because the defendantknew the funds cam e from illegalsources,the defendant charged

    an additionalfee on top ofthe standard fee charged by the check-cashing stores. The defendant

    charged this as a personalfee thathe took in cash from the stores. The defendant also often
Case 1:18-cr-20669-RNS Document 22 Entered on FLSD Docket 10/10/2018 Page 2 of 3




   w ithheld m oney from the checks and falsely claim ed to the scam m ers thatthe m oney from the

   scam m ers'checks had been frozen by the banks orthe authorities.

          In oraround 2013,co-conspiratorsofthedefendantengaged in an identity-thefttax refund

   schem e. These co-conspirators subm itted fraudulenttax refundsto the lRS in 2013 using stolen

   personalidentity inform ation. From this schem e,the co-conspirators received num erous U.S.

   treasurytax refundseach totaling approximately $150,000. ln 2013,thedefendantmetwith the
   co-conspirators in H ialeah. The defendantagreed to cash the fraudulentchecks in exchange for

   an additionalpersonalfee. The defendantneverm etthe person in whose nam e the U .S.treasury

   tax refund check waspayable. The defendantknowingly accepted fake identification docum ents

   forthese checks.

          ln orderto launderthe proceedsofthe schem e,on oraboutA ugust9,2013,the defendant

   know ingly caused the cashing of a fraudulently obtained U .S. Treasury tax refund check for

   $149,000inthenameofE.M . Theco-conspiratorsreceivedtheproceedsfrom thischeckandthe
   defendantkeptan extrapercentage forhim selfin cash. To disguisethe recipientofthe proceeds,

   the defendantknow ingly ensured thatthe currency transaction reportforthe fraudulenttax refund

   checksdid notlistthe co-conspiratorsasreceiving the cash.
Case 1:18-cr-20669-RNS Document 22 Entered on FLSD Docket 10/10/2018 Page 3 of 3




          Duringtherelevantperiod,thedefendantknowingly cashed atleast$100million inchecks
   thatcam e from eitheridentity-thefttax refund fraud,healthcarefraud orm ortgage fraud.

                                              BENJA M m GREENBERG
                                              ACTW G U NITED STA TES A TTORN EY

   Date: t.j(q(z*!j                    By:                Z
                                                 M ICHA EL N .BERGER
                                                 A SSISTAN T UN ITED STA TES A TTORN EY


   Ilate:to/rô/-zof&                   By:
                                                 GU STAV         A-M ON TES
                                                 ATTO    Y FO R D EFEND AN T


   Date:ta.ta tï                      By:
                                                   VE        S
                                                   E     D
